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                                  No. 6:20-cv-00176

                    R.J. Reynolds Tobacco Company et al.,
                                    Plaintiffs,
                                        v.
               United States Food and Drug Administration et al.,
                                   Defendants.


                                        ORDER

               For the reasons stated in the court’s order (Doc. 33) post-
           poning the effective date of the challenged rule 1 and the fur-
           ther equitable reasons given in plaintiffs’ motion for an exten-
           sion of that relief, plaintiffs’ motion (Doc. 90) is granted. The
           court orders that the effective date of the rule is postponed for
           an additional 90 days, until July 13, 2022. Any obligation to
           comply with the Tobacco Control Act’s warning require-
           ments, 5 U.S.C. § 1333(a)(1) and (b)(1), and the additional re-
           quirements in 21 U.S.C. §§ 387c(a)(2) and 387t(a), is also post-
           poned for an additional 90 days, as is any other obligation to
           comply with a deadline tied to the effective date of the rule.
                                    So ordered by the court on May 21, 2021.



                                                J. C AMPBELL B ARK ER
                                              United States District Judge




           1Tobacco Products; Required Warnings for Cigarette Packages and Ad-
           vertisements, 85 Fed. Reg. 15,638 (Mar. 18, 2020).
